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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       CRIMINAL

                    v.
                                               NO. 09-729-6, 8
BILAL HUSSEIN HAMDEN and
ALI KASSEM EL-SIBAi
                                         ORDER

      AND NOW, this 161h day of July 2018, upon consideration of the United States' Motion to

dismiss the indictment (ECF Doc. No 313), it is ORDERED the United States' Motion (ECF Doc.

No. 313) is GRANTED. The Indictment (ECF Doc. No. 1) and Superseding Indictment (ECF

Doc. No. 51) against Defendants Bilal Hussein Hamden and Ali Kassem El-Sibai only are

DISMISSED WITH PREJUDICE.
